          Case 3:19-cr-00472-E              Document 41            Filed 01/28/20           Page 1 of 1         PageID 137
                                        IN THE UNITED STATES DISTRICT COURT
                                        FOR THE NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                                               §
                                                                        §
v.                                                                      §                 Case Number: 3:19-CR-00472-E(3)
                                                                        §
HOMERO PEREZ-ESTRADA (3),                                               §
                                                                        §
         Defendant.                                                     §

                       ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
                    UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

          After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the Consent of the
defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States Magistrate Judge, and no objections
thereto having been filed within fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of
the opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea of Guilty is correct, and it is hereby
accepted by the Court. Accordingly, the Court accepts the plea of guilty, and HOMERO PEREZ-ESTRADA (3) is hereby adjudged
guilty of 21 USC § 846, 841(a)(1) and (b)(1)(C) Conspiracy to Possess with the Intent to Distribute Methamphetamine. Sentence will
be imposed in accordance with the Court's scheduling order.

☒        The defendant is ordered to remain in custody.

☐        The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that the defendant is not
         likely to flee or pose a danger to any other person or the community if released and should therefore be released under § 3142(b)
         or (c).

☐        Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release
         for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any other
         person or the community if released under § 3142(b) or (c).

☐        The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the United States
         Marshal no later than ___________________________.

☐        The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
         ☐       There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
         ☐       The Government has recommended that no sentence of imprisonment be imposed, and
         ☐       This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release for
                 determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any
                 other person or the community if released under § 3142(b) or (c).

☐        The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) pending a hearing before the United States Magistrate
         Judge who set the conditions of release for determination of whether it has been clearly shown that there are exceptional
         circumstances under § 3145(c) why the defendant should not be detained under § 3143(a)(2), and whether it has been shown
         by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
         if released under § 3142(b) or (c), or the Magistrate Judge finds there is a substantial likelihood that a motion for acquittal or
         new trial will be granted, or that the Government has recommended that no sentence of imprisonment be imposed.

         SO ORDERED.
         28th day of January, 2020.



                                                       ADA BROWN
                                                       UNITED STATES DISTRICT JUDGE
                                                       NORTHERN DISTRICT OF TEXAS
